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 5
     Attorneys for Defendants,
 6   FAY SERVICING, LLC
 7
                                  UNITED STATES DISTRICT COURT
 8
                                 NORTHERN DISTRICT OF CALIFORNIA
 9
10   MARTIN ENG, LOMBARD FLATS LLC;                    Case No.: 3:22-CV-05686-LB
     et al,
11                                                     Assigned to the Hon. Laurel Beeler
12                 Plaintiffs,
            vs.                                        FAY SERVICING, LLC’S EVIDENTIARY
13                                                     OBJECTIONS TO PLAINTIFFS’
     FAY SERVICING LLC, a Delaware limited             EVIDENCE IN SUPPORT OF
14
     liability company; U.S. BANK TRUST                OPPOSITION TO MOTION FOR
15   NATIONAL ASSOCIATION, not in its                  SUMMARY JUDGMENT
     individual capacity but solely as Owner
16   Trustee for VRMTG ASSET TRUST; and                [Filed Concurrently with Reply in support of
     VRMTG ASSET TRUST, a Delaware                     Motion and Response to Plaintiffs’ Objections]
17
     statutory trust,
18                                                     Hearing
                   Defendants.                         Date:   August 15, 2024
19                                                     Time:   9:30 a.m.
20                                                     Ctrm.:  B, 15th Floor

21                                                     Complaint filed: August 30, 2022
                                                       Action Removed: October 3, 2022
22                                                     FAC filed:       April 28, 2023
23                                                     SAC filed:       August 7, 2023

24          TO THE HONORABLE COURT, AND TO ALL PARTIES AND THEIR ATTORNEYS
25   OF RECORD, IF ANY:
26          Defendant FAY SERVICING, LLC (“Fay”) hereby objects to the following evidence filed by
27   Plaintiffs MARTIN ENG and LOMBARD FLATS LLC (collectively “Plaintiffs”) in opposition to Fay’s
28   Motion for Summary as follows:

                                                   1
       FAY SERVICING, LLC’S EVIDENTIARY OBJECTIONS TO PLAINTIFFS’ OPPOSITON TO
                           MOTION FOR SUMMARY JUDGMENT
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 1           EVIDENTIARY OBJECTIONS TO DECLARATION OF MARTIN ENG
 2
 3               Material Objected To                            Grounds for Objection
 4
 5
     1. Declaration of Martin Eng (“Eng Dec”), ¶ 2:          Objection – Irrelevant – Federal
 6      “I am over seventy-years-old (70-y-o) and very        Rules of Evidence (“FRE”), Rules
        sick these days. I have a 98-year old mother          401-402 – Evidence is relevant if:
 7      with Alzheimers, and Dementia who is also             (a) it has any tendency to make a fact
 8      bed-ridden. I am her caretaker and power-of-          more or less probable than it would
        attorney. I am writing this declaration against       be without the evidence; and (b) the
 9      and in opposition to Defendant Fay Servicing,         fact is of consequence in determining
        Inc.’s Motion for Summary Judgment (MSJ)”             the action.
10                                                                 o The Second Amended
11                                                                     Complaint’s (“SAC”) two
                                                                       surviving claims are for
12                                                                     damages under the federal
                                                                       Fair Debt Collections
13                                                                     Practices Act (“FDCPA”) and
14                                                                     Rosenthal Fair Debt
                                                                       Collections Practices Act
15                                                                     (“RFDCPA”). Plaintiff Eng’s
                                                                       age and illness and the illness
16
                                                                       of his mother have no bearing
17                                                                     on the merits of these claims.
                                                             Objection – FRE, Rule 403 - The
18                                                            court may exclude relevant evidence
19                                                            if its probative value is substantially
                                                              outweighed by a danger of unfair
20                                                            prejudice or confusing the issues.
                                                                   o Plaintiff’s age and illness and
21                                                                     his mother’s illness are not
22                                                                     relevant to the claims in the
                                                                       SAC and any potential
23                                                                     probative value is outweighed
                                                                       by unfair prejudice to Fay and
24                                                                     confusing the issues.
25
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                                                    2
     FAY SERVICING, LLC’S EVIDENTIARY OBJECTIONS TO PLAINTIFFS’ OPPOSITON TO
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     2. Eng Dec, ¶ 3: “My counsel, Reshma Kamath              Objection – Irrelevant – FRE,
 2      has helped me understand that I was deeply             Rules 401-402 – Plaintiff Eng’s
        prejudiced in the state court system, and              experience in prior lawsuits with prior
 3      continue to be prejudiced in the federal               counsel, or experience in this action
 4      courts where prior attorneys did not write             with prior counsel has no bearing on
        simple words such as “demand for jury                  the merits of the SAC’s claims.
 5      trial” on the caption page of a complaint. I may      Objection – FRE, Rule 403 -
        sue them. Further, I was born in                       Plaintiff Eng’s experience in prior
 6      Hong Kong, and my English ability is limited –         lawsuits with prior counsel, or
 7      but I was almost never afforded a                      experience in this action with prior
        translator in the courts when I had testified          counsel are not relevant to the claims
 8      under oath. Even my signatures were                    in the SAC and any potential
        forged and I finally have proof from a forensic        probative value is outweighed by
 9      analyst. I had several terrible                        unfair prejudice to Fay and confusing
10      attorneys – but finally, a zealous one in this         the issues.
        afore-captioned case.”                                Objection – FRE, Rule 701 –
11                                                             Improper Lay testimony
12                                                            Objection – FRE, Rule 901 – Lacks
                                                               Foundation/Authentication.
13                                                             Plaintiff Eng refers to prior lawsuits
                                                               and forged signatures in a vague and
14                                                             conclusory manner without
15                                                             identifying the lawsuits or
                                                               purportedly forged documents.
16                                                            Objection – FRE, Rule 802 –
                                                               Hearsay. Plaintiff Eng’s testimony is
17
                                                               based on statements made his counsel
18                                                             to him, not information that he has
                                                               personal knowledge of.
19                                                         
20
                                                              Objection – Irrelevant – FRE,
21   3. Eng Dec, ¶ 4: “Pertaining to Fay, had made             Rules 401-402 – Plaintiff Eng’s
        several loan modification requests and                 experience with Chase is not relevant
22      payoff demands both to Defendant Chase and             to this action as Chase has been
        then to Defendant Fay. All my phone                    dismissed. Moreover, the SAC’s
23      calls and effort were futile”                          surviving claims have nothing to do
24                                                             with any alleged loan modification
                                                               requests and/or applications.
25
                                                              Objection – FRE, Rule 403 - Any
26                                                             potential probative value of Plaintiff
                                                               Eng’s alleged efforts to request a
27                                                             modification is outweighed by unfair
                                                               prejudice to Fay and confusing the
28
                                                               issues.

                                                    3
     FAY SERVICING, LLC’S EVIDENTIARY OBJECTIONS TO PLAINTIFFS’ OPPOSITON TO
                         MOTION FOR SUMMARY JUDGMENT
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 1
                                                            Objection – Plaintiffs may not create
 2                                                           a triable issue by raising new theories
                                                             not alleged in the complaint. Wasco
 3                                                           Products, Inc. v. Southwall
 4                                                           Technologies, Inc., 435 F.3d 989,
                                                             990-92 (9th Cir. 2006). Here, the
 5                                                           SAC’s surviving claims are not based
                                                             on any alleged modification review or
 6                                                           request for a payoff quote.
 7
 8   4. Eng Dec, ¶ 5: “Defendant Fay’s Loan                 Objection – Irrelevant – FRE,
        Modification department and Customer service         Rules 401-402 – The SAC’s
 9      would answer the phone, transfer me and then         surviving claims have nothing to do
10      be non-responsive. I submitted at least three        with any alleged loan modification
        applications for loan modification and               requests and/or applications.
11      mitigation with Defendant Fay. Nothing – not        Objection – FRE, Rule 403 - Any
        even a calculations worksheet was sent to me.”       potential probative value of Plaintiff
12
                                                             Eng’s alleged efforts to request a
13                                                           modification is outweighed by unfair
                                                             prejudice to Fay and confusing the
14                                                           issues.
15                                                          Objection – Plaintiffs may not create
                                                             a triable issue by raising new theories
16                                                           not alleged in the complaint. Wasco
                                                             Products, Inc., 435 F.3d at 990-92.
17                                                           Here, the SAC’s surviving claims are
18                                                           not based on any alleged modification
                                                             review.
19                                                          Objection – FRE, Rule 901 – Lacks
                                                             Foundation/Authentication.
20
                                                             Plaintiff Eng refers to conversations
21                                                           and applications in a vague and
                                                             conclusory manner without
22                                                           identifying the dates of these
                                                             discussions or providing copies of the
23
                                                             purported applications.
24                                                          Objection – FRE, Rule 1002 –
                                                             Secondary Evidence Rule. Plaintiff
25                                                           refers to “at least three” applications
26                                                           for loan modification that he
                                                             submitted to Fay, but none of these
27                                                           purported applications were produced
                                                             by Plaintiff in discovery and none are
28                                                           attached to the Declaration.

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     FAY SERVICING, LLC’S EVIDENTIARY OBJECTIONS TO PLAINTIFFS’ OPPOSITON TO
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 1
     5. Eng Dec, ¶ 6: “Same thing with Defendant           Objection – Irrelevant – FRE,
 2      Fay’s attorney, Kristina Pelletier, Esq.”           Rules 401-402 – The SAC’s
                                                            surviving claims have nothing to do
 3                                                          with any alleged loan modification
 4                                                          requests and/or applications sent to
                                                            counsel for Fay.
 5                                                         Objection – FRE, Rule 403 - Any
                                                            potential probative value of Plaintiff
 6                                                          Eng’s alleged efforts to request a
 7                                                          modification while this action has
                                                            been pending is outweighed by unfair
 8                                                          prejudice to Fay and confusing the
                                                            issues.
 9
                                                           Objection – FRE, Rule 408 –
10                                                          Conduct or statements made during
                                                            compromise negotiations about a
11                                                          claim are inadmissible. To the extent
12                                                          Plaintiff’s testimony is based on
                                                            settlement discussions between the
13                                                          parties, it is improper and
                                                            inadmissible.
14                                                         Objection – Plaintiffs may not create
15                                                          a triable issue by raising new theories
                                                            not alleged in the complaint. Wasco
16                                                          Products, Inc., 435 F.3d at 990-92.
                                                            Here, the SAC’s surviving claims are
17                                                          not based on any alleged modification
18                                                          review.
                                                           Objection – FRE, Rule 901 – Lacks
19                                                          Foundation/Authentication.
                                                            Plaintiff Eng refers to conversations
20
                                                            with counsel for Fay in a vague and
21                                                          conclusory manner without
                                                            identifying the dates of these
22                                                          discussions, or the contents thereof.
23                                                         Objection – FRE, Rule 802 –
                                                            Hearsay. Plaintiff’s testimony is
24                                                          based on statements made Fay’s
                                                            counsel.
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     FAY SERVICING, LLC’S EVIDENTIARY OBJECTIONS TO PLAINTIFFS’ OPPOSITON TO
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 1
     6. Eng Dec, ¶ 7: “I sent so many e-mails for loan       Objection – Irrelevant – FRE,
 2      modification requests. I even sought permission       Rules 401-402 – The SAC’s
        to directly communicate with Defendant Fay’s          surviving claims have nothing to do
 3      attorney so I could as a former real estate           with any alleged loan modification
 4      broker communicate the numbers directly. But          requests and/or applications sent to
        nothing from Defendant Fay.”                          Fay or its counsel.
 5                                                           Objection – FRE, Rule 403 - Any
                                                              potential probative value of Plaintiff
 6                                                            Eng’s alleged efforts to request a
 7                                                            modification while this action has
                                                              been pending is outweighed by unfair
 8                                                            prejudice to Fay and confusing the
                                                              issues.
 9
                                                             Objection – FRE, Rule 408 –
10                                                            Conduct or statements made during
                                                              compromise negotiations about a
11                                                            claim are inadmissible. To the extent
12                                                            Plaintiff’s testimony is based on
                                                              settlement discussions between the
13                                                            parties, it is improper and
                                                              inadmissible.
14                                                           Objection – Plaintiffs may not create
15                                                            a triable issue by raising new theories
                                                              not alleged in the complaint. Wasco
16                                                            Products, Inc., 435 F.3d at 990-92.
                                                              Here, the SAC’s surviving claims are
17                                                            not based on any alleged modification
18                                                            review.
                                                             Objection – FRE, Rule 901 – Lacks
19                                                            Foundation/Authentication.
                                                              Plaintiff Eng refers to conversations
20
                                                              with counsel for Fay in a vague and
21                                                            conclusory manner without
                                                              identifying the dates of these
22                                                            discussions, or the contents thereof.
23                                                           Objection – FRE, Rule 802 –
                                                              Hearsay. Plaintiff’s testimony is
24                                                            based on statements made by Fay
                                                              and/or its counsel while this matter
25                                                            was pending.
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     FAY SERVICING, LLC’S EVIDENTIARY OBJECTIONS TO PLAINTIFFS’ OPPOSITON TO
                         MOTION FOR SUMMARY JUDGMENT
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 1
     7. Eng Dec, ¶ 8: “I even sent e-mails about loan      Objection – Irrelevant – FRE,
 2      re-instatement and maturity.”                       Rules 401-402 – The SAC’s
                                                            surviving claims have nothing to do
 3                                                          with any alleged requests for
 4                                                          reinstatement information or Loan
                                                            maturity information.
 5                                                         Objection – FRE, Rule 403 - Any
                                                            potential probative value of Plaintiff
 6                                                          Eng’s alleged efforts to request
 7                                                          reinstatement information or Loan
                                                            maturity information is outweighed
 8                                                          by prejudice to Fay and/or confusing
                                                            the issues.
 9
                                                           Objection – FRE, Rule 408 –
10                                                          Conduct or statements made during
                                                            compromise negotiations about a
11                                                          claim are inadmissible. To the extent
12                                                          Plaintiff’s testimony is based on
                                                            settlement discussions between the
13                                                          parties, it is improper and
                                                            inadmissible.
14                                                         Objection – Plaintiffs may not create
15                                                          a triable issue by raising new theories
                                                            not alleged in the complaint. Wasco
16                                                          Products, Inc., 435 F.3d at 990-92.
                                                            Here, the SAC’s surviving claims are
17                                                          not based on inquiries about the Loan
18                                                          maturity or reinstatement.
                                                           Objection – FRE, Rule 901 – Lacks
19                                                          Foundation/Authentication.
                                                            Plaintiff Eng refers to conversations
20
                                                            with counsel for Fay in a vague and
21                                                          conclusory manner without
                                                            identifying the dates of these emails,
22                                                          who he emailed, and/or the contents
23                                                          thereof.

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     FAY SERVICING, LLC’S EVIDENTIARY OBJECTIONS TO PLAINTIFFS’ OPPOSITON TO
                         MOTION FOR SUMMARY JUDGMENT
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     8. Eng Dec, ¶ 9: “For loan modifications,            Objection – Irrelevant – FRE,
 2      there was recalcitrance from Defendant Fay’s       Rules 401-402 – The SAC’s
        attorney and Defendant Fay.”                       surviving claims have nothing to do
 3                                                         with any alleged requests for a loan
 4                                                         modification.
                                                          Objection – FRE, Rule 403 - Any
 5                                                         potential probative value of Plaintiff
                                                           Eng’s alleged efforts to request a loan
 6                                                         modification is outweighed by
 7                                                         prejudice to Fay and/or confusing the
                                                           issues.
 8                                                        Objection – FRE, Rule 408 –
                                                           Conduct or statements made during
 9
                                                           compromise negotiations about a
10                                                         claim are inadmissible. To the extent
                                                           Plaintiff’s testimony is based on
11                                                         settlement discussions between the
12                                                         parties, it is improper and
                                                           inadmissible.
13                                                        Objection – Plaintiffs may not create
                                                           a triable issue by raising new theories
14                                                         not alleged in the complaint. Wasco
15                                                         Products, Inc., 435 F.3d at 990-92.
                                                           Here, the SAC’s surviving claims are
16                                                         not based on inquiries about the Loan
                                                           maturity or reinstatement.
17
                                                          Objection – FRE, Rule 901 – Lacks
18                                                         Foundation/Authentication.
                                                           Plaintiff Eng refers to conversations
19                                                         with Fay and counsel for Fay in a
                                                           vague and conclusory manner without
20
                                                           identifying the dates of these emails,
21                                                         who he emailed, and/or the contents
                                                           thereof.
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     FAY SERVICING, LLC’S EVIDENTIARY OBJECTIONS TO PLAINTIFFS’ OPPOSITON TO
                         MOTION FOR SUMMARY JUDGMENT
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     9. Eng Dec, ¶ 10: “For loan reinstatement            Objection – Irrelevant – FRE,
 2      and maturity, there was always pushback that       Rules 401-402 – The SAC’s
        the loan sum was past due. It never got re-        surviving claims have nothing to do
 3      instated.”                                         with any alleged requests for
 4                                                         reinstatement of the loan.
                                                          Objection – FRE, Rule 403 - Any
 5                                                         potential probative value of Plaintiff
                                                           Eng’s alleged efforts to request a
 6                                                         reinstatement quote is outweighed by
 7                                                         prejudice to Fay and/or confusing the
                                                           issues.
 8                                                        Objection – FRE, Rule 408 –
                                                           Conduct or statements made during
 9
                                                           compromise negotiations about a
10                                                         claim are inadmissible. To the extent
                                                           Plaintiff’s testimony is based on
11                                                         settlement discussions between the
12                                                         parties, it is improper and
                                                           inadmissible.
13                                                        Objection – Plaintiffs may not create
                                                           a triable issue by raising new theories
14                                                         not alleged in the complaint. Wasco
15                                                         Products, Inc., 435 F.3d at 990-92.
                                                           Here, the SAC’s surviving claims are
16                                                         not based on inquiries about the Loan
                                                           maturity or reinstatement.
17
                                                          Objection – FRE, Rule 901 – Lacks
18                                                         Foundation/Authentication.
                                                           Plaintiff Eng refers to conversations
19                                                         with Fay and counsel for Fay in a
                                                           vague and conclusory manner without
20
                                                           identifying the dates of these emails,
21                                                         who he emailed, and/or the contents
                                                           thereof.
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     FAY SERVICING, LLC’S EVIDENTIARY OBJECTIONS TO PLAINTIFFS’ OPPOSITON TO
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 1
     10. Eng Dec, ¶ 11: “My counsel, Reshma               Objection – Irrelevant – FRE,
 2       also met-and-conferred with Defendant Fay’s       Rules 401-402 – The SAC’s
         attorney, but there was the same response.”       surviving claims have nothing to do
 3                                                         with any alleged “meet and confer”
 4                                                         between counsel in this action.
                                                          Objection – FRE, Rule 403 - Any
 5                                                         potential probative value of Plaintiff’s
                                                           counsel’s meet and confer efforts
 6                                                         with counsel for Fay is outweighed
 7                                                         by prejudice to Fay and/or confusing
                                                           the issues.
 8                                                        Objection – FRE, Rule 408 –
                                                           Conduct or statements made during
 9
                                                           compromise negotiations about a
10                                                         claim are inadmissible. To the extent
                                                           Plaintiff’s testimony is based on
11                                                         settlement discussions between the
12                                                         parties, it is improper and
                                                           inadmissible.
13                                                        Objection – Plaintiffs may not create
                                                           a triable issue by raising new theories
14                                                         not alleged in the complaint. Wasco
15                                                         Products, Inc., 435 F.3d at 990-92.
                                                           Here, the SAC’s surviving claims are
16                                                         not based on inquiries about the Loan
                                                           maturity or reinstatement.
17
                                                          Objection – FRE, Rule 901 – Lacks
18                                                         Foundation/Authentication.
                                                           Plaintiff Eng refers to conversations
19                                                         with counsel for Fay in a vague and
                                                           conclusory manner without
20
                                                           identifying the dates of these emails,
21                                                         who he emailed, and/or the contents
                                                           thereof.
22                                                        Objection – FRE, Rule 802 –
23                                                         Hearsay. Plaintiff’s testimony is
                                                           based on statements made by his
24                                                         counsel.
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     FAY SERVICING, LLC’S EVIDENTIARY OBJECTIONS TO PLAINTIFFS’ OPPOSITON TO
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     11. Eng Dec, ¶ 12: “Until today, the documents           Objection – FRE, Rule 901 – Lacks
 2       that Defendant Fay and the PMK produced               Foundation/Authentication.
         cannot be trusted. They’re untrustworthy              Plaintiff Eng refers to documents
 3       documents that they produced to me during             produced by Fay as “untrustworthy”
 4       discovery and my answer was “cannot admit             but the basis for this assertion is not
         genuineness of documents.”                            stated and the documents are not
 5                                                             identified by Plaintiff.
                                                               Objection – Improper Lay
 6                                                             Testimony
 7
 8   12. Eng Dec, ¶ 13: “Today, my counsel,                   Objection – FRE, Rule 901 – Lacks
         Reshma Kamath, has properly produced and              Foundation/Authentication.
 9
         served Objections to Defendant FAY’s PMK’s            Plaintiff Eng refers to statements that
10       declaration filled with perjurious and                allegedly did not take place, but fails
         impeachable statements. I have personal               to specify what those statements are.
11       knowledge that those statements in                    Objection – Improper Lay
         Defendant Fay’s PMK declaration did not               Testimony
12
         occur.”
13
14   13. Eng Dec, ¶ 14: “This MSJ is only an attempt          Objection – FRE, Rule 901 – Lacks
15       from Defendant Fay and its attorney, Kristin          Foundation/Authentication.
         Pelletier, to gain an upper-hand in getting          Objection – Improper Lay
16       dismissed – similar to Defendant Chase.”              Testimony
17
18
     14. Eng Dec, ¶ 15: “Defendant Fay admit that             Objection – Improper Lay
19       U.S. National Bank Trust Association is the           Testimony
         loan holder. Then, if Defendant Fay transferred      Objection – Irrelevant – FRE,
20       to a new entity, maybe Defendant U.S. National        Rules 401-402 – Plaintiff’s intention
21       Bank will be the co-defendant.”                       to possibly add a new defendant to
                                                               this action is untimely, improper and
22                                                             has not bearing on the merits of
23                                                             Plaintiff’s claims.
                                                              Objection – FRE, Rule 403 - Any
24                                                             potential probative value of Plaintiff’s
                                                               intention to add a new defendant to
25                                                             this action, on the eve of Fay’s
26                                                             Motion, is outweighed by prejudice to
                                                               Fay and/or confusing the issues.
27
28

                                                   11
     FAY SERVICING, LLC’S EVIDENTIARY OBJECTIONS TO PLAINTIFFS’ OPPOSITON TO
                         MOTION FOR SUMMARY JUDGMENT
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 1                                                              Objection – Plaintiffs may not create
                                                                 a triable issue by raising new theories
 2                                                               not alleged in the complaint. Wasco
                                                                 Products, Inc., 435 F.3d at 990-92.
 3                                                               Here, the SAC’s surviving claims are
 4                                                               not based on inquiries about the Loan
                                                                 maturity or reinstatement.
 5
     15. Eng Dec, ¶ 17: “There is a genuine issue of            Objection – Improper Lay
 6       credible material fact and the disputed facts are       Testimony
 7       in the complaint – where I was a victim of             Objection – Irrelevant – FRE,
         predatory lending practices.”                           Rules 401-402 – Plaintiff’s
 8                                                               conclusory assertion that he was a
                                                                 victim of predatory lending practices
 9
                                                                 has no bearing on the SAC’s claims.
10                                                              Objection – FRE, Rule 403 - Any
                                                                 potential probative value of Plaintiff’s
11                                                               conclusory assertion that he was a
12                                                               victim of predatory lending practices
                                                                 is outweighed by prejudice to Fay
13                                                               and/or confusing the issues.
                                                                Objection – Plaintiffs may not create
14
                                                                 a triable issue by raising new theories
15                                                               not alleged in the complaint. Wasco
                                                                 Products, Inc., 435 F.3d at 990-92.
16                                                               Here, the SAC’s surviving claims are
                                                                 not based on inquiries about the Loan
17
                                                                 maturity or reinstatement.
18
19
     16. Eng Dec, ¶ 19: “If the loan doesn’t get re-            Objection – Plaintiffs may not create
20       instated, I want a bench trial on this matter –         a triable issue by raising new theories
21       because I was denied the jury trial right.”             not alleged in the complaint. Wasco
                                                                 Products, Inc., 435 F.3d at 990-92.
22                                                               Here, the SAC’s surviving claims are
                                                                 not based on inquiries about the Loan
23                                                               maturity or reinstatement.
24                                                              Objection – Irrelevant – FRE,
                                                                 Rules 401-402 – Plaintiff’s request
25                                                               for a jury trial is improper and has not
                                                                 bearing on the merits of the SAC’s
26
                                                                 claims. Indeed, Plaintiff already
27                                                               requested a jury trial, but because it
                                                                 was an untimely request, the Court
28                                                               already denied the request.

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     FAY SERVICING, LLC’S EVIDENTIARY OBJECTIONS TO PLAINTIFFS’ OPPOSITON TO
                         MOTION FOR SUMMARY JUDGMENT
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 1                                                      Objection – FRE, Rule 403 - Any
                                                         potential probative value of Plaintiff’s
 2                                                       assertion that he was denied the right
                                                         to a jury trial is outweighed by
 3                                                       prejudice to Fay and/or confusing the
 4                                                       issues.

 5
                  EVIDENTIARY OBJECTIONS TO PLAINTIFFS’ EXHIBITS
 6
 7
 8              Material Objected To                        Grounds for Objection

 9
10   1. Plaintiff’s Exhibit A – “Declaration Under      Objection – FRE, Rules 401-402 –
        Penalty of Perjury for Non-Individual            Irrelevant
11
        Debtors.”                                            o One of Plaintiff Lombard
12                                                              Flats’ filings in its 2024
                                                                Bankruptcy has no bearing on
13                                                              the merits of the SAC’s
14                                                              claims.
                                                        Objection – FRE, Rule 901 – Lacks
15                                                       Foundation/Authentication.
                                                             o Plaintiff’s Bankruptcy filing is
16                                                              not properly authenticated
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     FAY SERVICING, LLC’S EVIDENTIARY OBJECTIONS TO PLAINTIFFS’ OPPOSITON TO
                         MOTION FOR SUMMARY JUDGMENT
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 1
        2. Plaintiff’s Exhibit B – “Various Documents,          Objection – FRE, Rules 401-402 –
 2         including but not limited to Tax Bills, Tax           Irrelevant
           Filings and Loan Correspondence.”                         o Plaintiff’s documents
 3                                                                      produced in discovery have no
 4                                                                      bearing on the merits of the
                                                                        SAC’s claims under the
 5                                                                      FDCPA and RFDCPA.
                                                                Objection – FRE, Rule 901 – Lacks
 6                                                               Foundation/Authentication.
 7                                                                   o Plaintiff’s Exhibit B is not
                                                                        properly authenticated
 8
 9
10                                                  Respectfully Submitted,
11                                                  WRIGHT, FINLAY & ZAK, LLP
12
     Dated: July 29, 2024                    By:    /s/Kristina M. Pelletier
13
                                                    Kristina M. Pelletier, Esq.
14                                                  Attorneys for Defendant,
                                                    FAY SERVICING, LLC
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       FAY SERVICING, LLC’S EVIDENTIARY OBJECTIONS TO PLAINTIFFS’ OPPOSITON TO
                           MOTION FOR SUMMARY JUDGMENT
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 1
                                             PROOF OF SERVICE
 2
            I, Iryna Brown, declare as follows:
 3
             I am employed in the County of Orange, State of California. I am over the age of eighteen (18)
 4   and not a party to the within action. My business address is 4665 MacArthur Court, Suite 200, Newport
     Beach, California 92660. I am readily familiar with the practices of Wright, Finlay & Zak, LLP, for
 5   collection and processing of correspondence for mailing with the United States Postal Service. Such
 6   correspondence is deposited with the United States Postal Service the same day in the ordinary course of
     business. I am aware that on motion of party served, service is presumed invalid if postal cancellation
 7   date or postage meter date is more than one day after date of deposit for mailing in affidavit.
 8     On July 29, 2024, I served the within FAY SERVICING, LLC’S EVIDENTIARY OBJECTIONS
       TO PLAINTIFFS’ EVIDENCE IN SUPPORT OF OPPOSITION TO MOTION FOR
 9     SUMMARY JUDGMENT
     on all interested parties in this action as follows:
10
11   [X]    by placing [ ] the original [X] a true copy thereof enclosed in sealed envelope(s) addressed as
     follows:
12
13   Reshma Kamath , Esq.
     333800 Law Office of Reshma Kamath
14   700 El Camino Real Suite 120, #1084
     Menlo Park, CA 94025,
15   Tel: 650 257 0719
16   E-mail: reshmakamath2021@gmail.com
     [Attorneys for Plaintiffs MARTIN ENG, LOMBARD FLATS LLC et al]
17
     [ ]     (BY MAIL SERVICE) I placed such envelope(s) for collection to be mailed on this date
18
            following ordinary business practices.
19   [ X]   (CM/ECF Electronic Filing) I caused the above document(s) to be transmitted to the office(s) of
20          the addressee(s) listed by electronic mail at the e-mail address(es) set forth above pursuant to
            Fed.R.Civ.P.5(b)(2)(E). “A Notice of Electronic Filing (NEF) is generated automatically by the
21          ECF system upon completion of an electronic filing. The NEF, when e-mailed to the e-mail
            address of record in the case, shall constitute the proof of service as required by
22
            Fed.R.Civ.P.5(b)(2)(E). A copy of the NEF shall be attached to any document served in the
23          traditional manner upon any party appearing pro se.”

24   [X ]   (Federal) I declare under penalty of perjury under the laws of the United States of
            Executed on July 29, 2024, at Newport Beach, California.
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        FAY SERVICING, LLC’S EVIDENTIARY OBJECTIONS TO PLAINTIFFS’ OPPOSITON TO
                            MOTION FOR SUMMARY JUDGMENT
